
514 So. 2d 1068 (1987)
Ex parte James Hugh JONES.
(Re James Hugh Jones v. State of Alabama).
86-1112.
Supreme Court of Alabama.
September 4, 1987.
Stephen K. Orso, Mobile, for petitioner.
Don Siegelman, Atty. Gen., for respondent.
Prior Report: Ala.Cr.App., 514 So. 2d 1060.
ADAMS, Justice.
In denying this petition for a writ of certiorari, we are not to be understood as agreeing with the assertion in the opinion of the Court of Criminal Appeals that the accused was entitled to a charge on the lesser included offense of negligent homicide.
WRIT DENIED.
TORBERT, C.J., and JONES, SHORES and STEAGALL, JJ., concur.
